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            EXHIBIT 2

 DEPOSITION OF
MICHAEL TURNER
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2015: Michael Corona, Christina Mathis, et al. vs. Sony Pictures Entertainment Inc.
(Case No. 2:14-cv-09600 RGK E)

2015: RONALD KROENIG v.MAXIM HEALTH CARE SERVICES
Case No. CV 14-3471 FMO (ASx)

2014: Roberto Sevi v. Experian Information Solutions, Inc., TransUnion, LLC., and
Nationstar Mortgage, LLC. (Case No. 6:13CV1433-0RK-37KRS)

2014: Maclovia Duarte v. JP Morgan Chase case Case Number: 2:13-cv-01105

2013: Mei Mei Li vs. TransUnion.

2013: Alejandro Abraham Lopez, Jr, Alejandro Lopez, Sr, et al; Civil Action No. 1:12-
cv-0090 2- LO-JFA;

2012-13: Sykes et al. v. Mel S. Harris & Associates LLC et al.

2012: ROBIN KOSTER, Plaintiffvs. TRANS UNION LLC,Defendant.
(CASE NO. 4:12-cv-00074-AGF)

2011: Donna K. Soutter On behalf ofthemselves And all others similarly situated
Plaintiffs against TRANS UNION LLC Defendant Civil Action No.3: 10-CV-514

2011: Xerox vs. Paul Baker Printing. Case SCV 25033




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